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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
Nancy Worley, et al.
                       Plaintiffs

               v.                                      CA No.1:12 CV 2069
                                                       Judge Royce C. Lamberth

The Islamic Republic of Iran, et al.
                    Defendants



                    AFFIDAVIT OF DOROTHEA R. HAMILTON for
                       THE ESTATE OF ROSCOE HAMILTON

        Pursuant to the Federal Rules of Civil Procedure, Dorothea R. Hamilton states the

following:

   1.   I am over the age of eighteen and am competent to testify to the facts and matters

        set forth herein. I am in the process of establishing an estate for Plaintiff Virgil D.

        Hamilton.

   2. I was born on February 4, 1947, in the United States of America and have been at

        all times throughout my life a citizen of the United States of America.

   3. Virgil Dean Hamilton enlisted with the United States Marine Corps in May 1981.

   4. On October 23, 1983, Virgil Hamilton, was a member of the United States Marine

        Corps and was stationed in Beirut, Lebanon at the time of the bombing.

   5. On October 23, 1983, when the Marine Barracks building housing the Marine

        Battalion in Beirut was attacked by a suicide bomber, Virgil Hamilton was asleep

        inside the building and was subsequently killed.
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   6. At the time he was deployed Virgil Hamilton’s father, Roscoe Hamilton, was

         alive, having been born on January 2, 1941 in the United States of America. He

         was, and remained until his death on June 17, 2013, a citizen of the United States

         of America.

   7. He suffered serious injuries as a result of that terrorist bombing which plagued

         him throughout his life. These injuries include grief, mental anguish and

         intentional infliction of emotional distress.

   8. Additionally, Defendants, the Islamic Republic of Iran and the Iranian Ministry of

         Intelligence and Security inflicted severe emotional stress on him from October

         23, 1983 until the time of his death.



I DECLARE UNDER THE PENALTY OF PERJURY UNDER THE LAWS OF

THE UNITED STATES OF AMERICA THAT THE FOREGOING

INFORMATION CONTAINED IN THIS AFFADAVIT IS TRUE AND

CORRECT.



12/16/2014
 _______________                                              ___________________

Date                                                       Dorothea R. Hamilton, Personal
                                                           Representative for the Estate
                                                                  of Roscoe Hamilton




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                               Dorothea Hamilton
                               Party ID: 9LGBVZIVR5TILSIPYYJYDG
                               IP Address: 184.53.1.199
                                VERIFIED EMAIL:   dottiehamilton66@gmail.com



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2014-12-16 12:49:09 -0800      All parties have signed document. Signed copies sent to: Murphrey Knox,
                               Dorothea Hamilton, and Caragh Fay.
2014-12-16 12:49:09 -0800      Document signed by Dorothea Hamilton (dottiehamilton66@gmail.com) with drawn
                               signature. - 184.53.1.199
2014-12-16 12:45:29 -0800      Document viewed by Dorothea Hamilton (dottiehamilton66@gmail.com). -
                               184.53.1.199
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